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Attol“n eys for Defen dant
Ko.h]’S Department Stores, Inc.

UNITED STATES DISTRICT COURT
DISTRICT OF NEVADA
KIRBY SPENCER, CASE NO. 2114'CV'01646'RFB~CWH
Plaintiff,
SUBSTITUTION OF ATTORNEY

V.

KOHL’S DEPARTMENT STORES, INC.,
Defendant.

 

 

 

 

Defendant Kohl’s Department Stores, Inc. hereby Substitutes Abran E. Vigil
and Brianna Smith Of the law firm 0f BALLARD SPAHR LLP, as attorneys Of record in

place and instead of Craig R. Anderson of the law firm of Marquis Aurbach Coffing.
/»')L :',L`$ 7' l L.`

Datedf July 4 , 2018.
KOHL’S DEPARTMENT STORES, INC.

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Lauri A. |V|azzuchetti

 

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\`| m UT 14> 03 [\'.) +-* 0 CQ CX) 4 CD 01 14> 00 L\') P-‘ O

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l consent to the above substitution

Dated this 24th day of July, 2018.

MARQUIS AURBACH CoFFiNG

Byf /s/ Craig R. Anderson
Craig R. Anderson

Nevada Bar No. 6882
10001 Park Run Drive
Las Vegas, NV 89145

l arn duly admitted to practice in this District. Above substituted accepted
Dated this 24th day of July, 2018.

BALLARD SPAHR LLP

By! /s/ Brianna Srnith

 

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A ttoz”n eys for Defen dant
Ko]z]’s Department Stol"es, [nc.

IT IS SO ORDERED

Dated

 

 

CARL W. HOFFMAN
United States District Judge

DI\/lWEST #17952957 V1

 

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1 certify that on 61 /0 , 2018, and pursuant to FRCP 5, a true copy of

the foregoing Substitution of Attorney was filed Via the Court’s CM/ECF System and

electronically served by the Court on all parties in interest

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